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                EXHIBIT 3
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                                                                                         Ross MacDonald, MD
                                                                                                New York, NY
                                                                                          September 10, 2021
Keith Powers,
Chair, Criminal Justice Committee
New York City Council
Via email

Dear Council Member Powers,

         As a physician who has devoted a decade of my career to Rikers Island, and as the Chief Medical
Officer for the New York City jail system, I am asking for your urgent assistance with an emergency
situation that I do not believe the City of New York is able to remedy on its own.

         Specifically, I ask that you urge the city to ask for out side help to immediately stabilize a
situation that has resulted in death and threatens the health and well-being of everyone who works and
resides in city jails.

         While some might ascribe recent deaths and the "disorder and chaos" reported by the federal
monitor to longstanding dysfunction of Rikers Island, it represents a new and worsening emergency that
has developed over the course of the last year.

         Over 10 years in leadership positions in healthcare in the city jails, I have seen tremendous
progress in the conditions of confinement, with a reduction in deaths in custody from 21 and 24 deaths
in 2012 and 2013 respectively to just 3 deaths in 2019. Many successes of the Department of Correction,
Correctional Health Services and political leadership underpinned this progress. The City moved from a
for-profit healthcare model to direct care under Health+ Hospitals, created and expanded high-level
mental health units (CAPS and PACE) and improved medical care delivery, substance use treatment and
systematic quality improvement. This good work culminated in the heroism of the Department of
Correction as they partnered with Correctional Health Services to respond to the first wave of COVID-19
in 2020, and did so more successfully than any urban jail system in the nation . The City and the
Department deserve credit for these reforms and I personally take great pride in them. Hence, I do not
write a letter such as this one lightly.

         Unfortunately, in 2021 we have witnessed a collapse in basic jail operations, such that today I do
not believe the City is capable of safely managing the custody of those it is charged with incarcerating in
its jails, nor maintaining the safety of those who work there. The breakdown has resulted in an increase
in deaths which we refer to as jail-attributable, where jail conditions meaningfully contributed to the
death. Death and injury are predictable consequences of repeated failures to perform certain essential
functions due to unavailability of staff. These include sustained failure to process and house new
admissions to jail within 24 hours, resulting in pervasive problems of overcrowded pens where
incarcerated people are held for days on end. The overcrowding leads to people kept for prolonged
periods in temporary spaces such as showers, at times standing in feces. These conditions lead to fights
over necessities including food . Unavailability of staff has resulted in delays in transferring patients to
clinics for care, to mental health units or to the hospital, even when 911 has been activated and EMS has
arrived to transport them . More recently we have seen breakdowns in basic functions such as failing to
provide correctional staff to supervise some housing areas or observe incarcerated people placed on
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suicide watch. Threats on our health staff have become commonplace and situations where clinical staff
were assaulted or prevented from leaving an area have increased. Veteran healthcare staff feel unsafe
to a degree they have never felt in 30 years of service. As critical jail functions break down, self-injury,
medical emergencies, use of force and serious injuries all rise.

         Without the ability to attend to basic jail operations, we are poorly positioned to control COVID-
19 transmission within the jails and we have already seen a rise in cases. For the first time this year,
COVID-19 rates in the jails seem to be outpacing the spread in the city. In many instances we are not
able to transfer newly diagnosed patients to isolation settings for more than 24 hours and sometimes
several days after diagnosis.

        Though the plans articulated by Commissioner Schiraldi to address mass-absenteeism are
reasonable and thought out, plans with months-long timelines are not adequate for the urgency of the
situation. Faster intervention is required to minimize further injury, illness, and loss of life and this
requires outside help.

       Decarceration efforts, which are a proven public health response to COVID-19, have not been
meaningfully pursued since 2020. Rather the city focuses on case processing through the courts, a slow
remedy which also does not meet the urgency of the moment.

        Commissioner Schiraldi has been forthcoming in acknowledging the severity of the situation and
describes "sending up a flare to" City Hall, but he has been redirected toward a slow effort to address
mass absenteeism that has been in motion now for months during which time the situation has
worsened. Failure of the City to ask for outside assistance thus far in the face of clear documentation of
the severity of the situation represents gross mismanagement, which threatens the health and safety of
those incarcerated in the jails and all who work there. I am asking for your assistance in calling on the
city to ask for outside help from the State of New York or from the Federal Government, to immediately
remedy this emergency.

         Priorities to be addressed upon arrival of outside assistance would include : Temporarily opening
a shuttered jail facility on Rikers island to allow for enough housing for new admissions and COVID-19
protocols, staffing the intake process adequately to clear out overcrowded pens where incarcerated
patients languish for days, securing clinical spaces so that healthcare staff can perform their duties
safely and with adequate production of patients to clinic, staffing all housing areas, and of course
relieving our colleagues in the Department of Correction from their posts when their tour of duty ends.

        I write as a physician with a duty to my patients and staff and with no ill will to those involved,



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and I simply ask that you urge the city to ask for help to abate this emergency. It is well past time.




Ross MacDonald, MD                                              CC:
Chief Medical Officer/Sr. Assistant Vice President              CoreyJohnson, Speaker
Correctional Health Services                                    Vanessa Gibson, Chair, Committee on
New York City Health + Hospitals                                Oversight and Investigation
